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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
YVONNE MASSARO,

                          Plaintiff,                                     17-CV-8191 (LGS)(KNF)

        -vs.-

THE DEPARTMENT OF EDUCATION
OF THE CITY OF NEW YORK, et al.,

                           Defendant
---------------------------------------------------------------X

        IT IS HEREBY STIPULATED AND AGREED by and between the parties, through

their respective undersigned counsel, pursuant to Federal Rules of Civil Procedure Rule 15 and

41(a)(l), that Plaintiff's remaining claim under that ADEA that "Defendant's review of her

substitute teaching application on or after September 16, 2016, was in retaliation to her EEOC

charge," is dismissed with prejudice with each party to bear its own costs and fees but without

prejudice to Plaintiff's right to appeal the remaining claims that were previously dismissed by the

Court in Summary Judgment Decision and Order Dkt No. 75.

Dated: New York, New York
       February 2, 2021

STEWART LEE KARLIN                                                 NEW YORK CITY
LAW GROUP, P.C.                                                    LAW DEPARTMENT
Attorney for Plaintiff-Petitioner                                  Attorney for Defendant-Respondent
111 John St., 22nd Floor                                           100 Church Street
New York, New York 10007                                           New York, New York 10007
(212) 792-9670                                                     (212) 356-2444

By:                                                                By: ________________________
       Stewart Lee Karlin, Esq.                                         Dominique Saint-Fort, Esq.

SO ORDERED:



U.S.D.J.
